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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION



 UNITED STATES OF AMERICA,

                                                        Criminal Action No. 3:10-CR-308-20
         v.                                                 Civil Action No. 3:12-CV-370
 JORGE ALEJANDRO GONZALEZ-GARCIA,

                                      Petitioner.


                                  MEMORANDUM OPINION

        THIS MATTER is before the Court on pro se Petitioner Jorge Alejandro Gonzalez-

Garcia’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody (“§ 2255 Motion”) (ECF No. 832). For the reasons set forth below, the Court

DENIES the § 2255 Motion.

   I.         BACKGROUND

              a. Factual Background

        This case relates to Petitioner Jorge Alejandro Gonzalez-Garcia’s (“Gonzalez-Garcia” or

“Petitioner”) involvement in a Fraudulent Document Enterprise (“FDE”) that specialized in

selling high-quality false identification cards to illegal aliens in the United States. At the time of

a nationwide takedown on November 18, 2010, the FDE had 19 cells in 11 states, including 3 in

Virginia. The entire operation was supervised within the United States by Israel Cruz Millan

(“Millan”), also known as “El Muerto.” In each city where the organization operated, Millan

placed a cell manager to supervise a number of “runners,” the lower level members of the

organization who distributed business cards advertising the organization’s services and helped

facilitate transactions with customers.

        The cost of fraudulent documents varied depending on the location, with counterfeit

Resident Alien and Social Security cards typically selling from $150 to $200. Each cell allegedly


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maintained detailed sales records and divided the proceeds between the runner, the cell

manager, and the upper level managers in Mexico.

       At the time of his arrest on November 18, 2010, Petitioner served as the manager for the

Mishawaka, Indiana cell. His managerial role for this cell spanned back to at least January 2010.

Following his arrest, he told investigators that he had been with the organization for

approximately 8 months and that he had produced between 250-300 documents for that same

time period.

            b. Procedural Background

        On December 14, 2010, a federal grand jury in the Eastern District of Virginia returned

the first superseding two-count indictment (ECF No. 95) against Petitioner, charging him with

(1) conspiracy to possess, produce, and transfer false identification documents and possess a

document-making implement, in violation of 18 U.S.C. § 1028(f); and (2) money laundering

conspiracy, in violation of 21 U.S.C. § 1956(h). A second superseding indictment was returned

on February 23, 2011 (ECF No. 173), and a third superseding indictment was returned on

February 24, 2011 (ECF No. 176), charging Petitioner with: (1) Racketeering Conspiracy, in

violation of 18 U.S.C. § 1962(d) (“Count One”); (2) conspiracy to possess, produce, and transfer

false identification documents and possess a document-making implement, in violation of 18

U.S.C. § 1028(f) (“Count Eleven”); and (3) money laundering conspiracy, in violation of 21

U.S.C. § 1956(h) (“Count Twelve”).

       On April 25, 2011, Petitioner pled guilty to Count One of the third superseding

indictment. (See Plea Agt., ECF No. 235.) On July 20, 2011, this Court sentenced Petitioner to 42

months’ imprisonment, followed by 2 years of supervised release. Petitioner did not appeal his

sentence.

       On May 11, 2012, Petitioner filed the instant § 2255 Motion. In his § 2255 Motion,




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Petitioner alleges one ground for relief:1

                 Ground One:        Ineffective assistance of counsel related to attorney’s failure to
                                    take advantage of a two-level downward departure in exchange
                                    for the defendant’s deportation concessions in the plea
                                    agreement

The United States filed a response in opposition on June 27, 2012 (“Gov’ts Resp.”) (ECF No.

857), providing Roseboro notice to Petitioner (ECF No. 858), and Petitioner subsequently filed a

reply on July 17, 2012 (“Reply Mem.”) (ECF No. 863). The issue is now ripe for review.

    II.      LEGAL STANDARD

          Under 28 U.S.C. § 2255 (“§ 2255”), a prisoner in federal custody may attack his sentence

on four grounds: (1) the sentence violates the Constitution or the laws of the United States; (2)

the court lacked jurisdiction to impose the sentence; (3) the sentence exceeded the maximum

authorized by law; or (4) the sentence is otherwise subject to collateral attack. § 2255(a); see

also Hill v. United States, 368 U.S. 424, 426–27 (1962). A claim which does not challenge the

constitutionality of a sentence or the court’s jurisdiction is cognizable in a § 2255 motion only if

the alleged violation constitutes a “miscarriage of justice.” United States v. Addonizio, 442 U.S.

178, 185 (1979). To prevail under § 2255, the movant bears the burden of proof by a

preponderance of the evidence. Miller v. United States, 261 F.2d 546, 547 (4th Cir. 1958);

United States v. King, 36 F. Supp. 2d 705, 707 (E.D. Va. 1999). A pro se petitioner is held to a

less exacting standard than an attorney in drafting his petition. Gordon v. Leeke, 574 F.2d 1147,

1151 (4th Cir. 1978). Therefore, the Court generously interprets Petitioner’s factual allegations

and legal contentions.

    III.     DISCUSSION

          To succeed on a claim of ineffective assistance of counsel, a petitioner must show both


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 Petitioner’s § 2255 Motion also contains a second ground for relief. However, upon review of the
Petitioner’s supporting facts, the Court cannot discern any argument. The Government’s response also
notes that while Petitioner is correct that this Court was free to order Petitioner’s deportation as a
condition of supervised release under 18 U.S.C. § 3583(d), Petitioner fails to allege any argument in
ground two. (Gov’ts Resp. at 5 n.1.) Therefore, only Petitioner’s first ground for relief will be addressed
here.

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that: (1) his attorney’s performance fell below an objective standard of reasonableness, and (2)

he suffered actual prejudice. Strickland v. Washington, 466 U.S. 668, 687 (1984). The first

prong of Strickland, the performance prong, requires the petitioner to “‘show that counsel’s

representation fell below an objective standard of reasonableness’ measured by ‘prevailing

professional norms.’” Lewis v. Wheeler, 609 F.3d 291, 301 (4th Cir. 2010) (quoting Strickland,

466 U.S. at 688). There is a “strong presumption that counsel’s conduct falls within the wide

range of reasonable professional assistance,” and “[j]udicial scrutiny of counsel’s performance

must be highly deferential.” Strickland, 466 U.S. at 689. When making an ineffective assistance

of counsel determination, a court must consider “the practical limitations and tactical decisions

that counsel faced.” Bunch v. Thompson, 949 F.2d 1354, 1363 (4th Cir. 1991). The second prong

of Strickland, the prejudice prong, requires the petitioner to show that counsel’s errors were

serious enough to deprive the petitioner of a fair trial. Strickland, 466 U.S. at 687. In essence,

the petitioner must show “there is a reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different. A reasonable probability is a

probability sufficient to undermine confidence in the outcome.” Id. at 694. If it is clear the

petitioner has failed to satisfy either prong of the Strickland standard, a court need not inquire

into whether he satisfied the other. Id. at 697.

       Petitioner’s § 2255 Motion alleges ineffective assistance of counsel because counsel did

not move for a two-point downward departure pursuant to the Attorney General’s April 28, 1995

Memorandum (“1995 Memorandum”), which permitted such in exchange for a defendant’s

waiver of deportation. (§ 2255 Mot. at 5.) In response, the Government argues that the 1995

Memorandum did not establish a mandatory policy, and the United States would not have

recommended a two-level reduction in this case. (Gov’ts Resp. at 7.)

       The 1995 Memorandum issued by the former Attorney General Janet Reno provided

“general overview and policy guidance” with regards to “stipulated administrative deportation in

plea agreements.” (See Gov’ts Resp., Ex. 2. at pg. 1.) “To obtain such stipulations, prosecutors

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may agree to recommend a one or two level downward departure from the applicable guideline

sentencing range in return for the alien’s concession of deportability and agreement to accept a

final order of deportation.” (Id. at pg. 2) (emphasis added). As the Government’s response

suggests, the 1995 Memorandum did not create a mandatory policy. Rather, the use of the word

“may” clearly intended for the policy to be discretionary. Moreover, the Government submits

that this policy has not been adopted by the Eastern District of Virginia in resolving its cases.

(Gov’ts Resp. at 8.) Therefore, Petitioner cannot establish that his counsel’s performance fell

below an objective standard of reasonableness, Strickland, 466 U.S. at 687, as any request for a

downward departure would have been flatly rejected. Because Petitioner cannot satisfy the

Strickland standard, see id. at 697, his claim must be denied.

         In his reply brief, Petitioner seemingly attempts to change the grounds upon which he

bases his ineffective assistance of counsel claims. Although the Court may dismiss these new

arguments, Hull v. United States, No. RWT 05-0109, 2008 WL 4181946, at *3–4 (D. Md. Sept.

5, 2008), for the sake of thoroughness the Court will address the merits of these claims.

         Although difficult to decipher, Petitioner’s reply appears to argue that counsel was

ineffective because Petitioner was entitled to a downward departure pursuant to United States

Sentencing Guideline (“U.S.S.G.”) § 5K3.1, also known as the “fast track program.” As Judge

Payne described in United States v. Hernandez-Montealegre, 445 F. Supp. 2d 646 (E.D. Va.

2006),

            Fast-track programs began informally in districts along the Mexican border,
            where district courts were increasingly overwhelmed by high caseloads
            related to immigration violations. To alleviate this burden, federal
            prosecutors engaged in charge-bargaining and agreed to move for downward
            departures in return for expedited guilty pleas. Congress formally sanctioned
            such early disposition programs in the Prosecutorial Remedies and Tools
            Against the Exploitation of Child Today Act of 2003 ("PROTECT Act”) . . . , in
            which it authorized the Attorney General to create and implement programs
            to aid jurisdictions overwhelmed by high caseloads related to a particular
            offense or category of offenses. Congress also directed the Sentencing
            Commission to promulgate a policy statement authorizing a departure of not
            more than four levels in cases where the United States moved for a downward



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              departure pursuant to an early disposition program. The Commission
              complied in U.S.S.G. § 5K3.1.

445 F. Supp. 2d at 658. The Attorney General issued a memorandum to United States Attorneys

on September 22, 2003, outlining the circumstances under which such early disposition

programs would be authorized. Id. at 658–59. Although the Deputy Attorney General authorized

fast-track programs in 13 districts for illegal reentry offenses under 8 U.S.C. § 1326, “no such

early disposition program has been authorized in the Eastern District of Virginia.” Id. at 659.

         The Hernandez-Montealegre case undoubtedly confirms that Petitioner’s reply

arguments are without merit. First, Petitioner was convicted of a Racketeering Conspiracy in

violation of 18 U.S.C. § 1962(d)–not illegal reentry. See id. at 659. Secondly, fast-track programs

are not recognized in the Eastern District of Virginia. Id. Finally, as Petitioner even admits, (see

Reply Mem. at 11), U.S.S.G. § 5K3.1 requires a motion by the government–not defense counsel.

For all those reasons, Petitioner’s counsel was not ineffective for failing to file a motion for a

“fast-track program downward departure.” (See Reply Mem. at 11.)

   IV.        CERTIFICATE OF APPEALABILITY

         A district court that enters a final order denying a § 2255 motion must grant or deny a

certificate of appealability. Rule 11(a) of the Rules Governing Section 2255 Proceedings. A

certificate of appealability may issue only if the applicant has made a substantial showing of the

denial of a constitutional right. 28 U.S.C. § 2253(c)(2); see also Miller-El v. Cockrell, 537 U.S.

322, 336–38 (2003); Slack v. McDaniel, 529 U.S. 473, 484 (2000). In order to satisfy § 2253(c),

a petitioner must demonstrate that reasonable jurists would find the district court’s assessment

of the constitutional claims debatable or wrong. Miller-El, 537 U.S. at 336–38 (citing Slack, 529

U.S. at 484). For the reasons stated more fully above, no law or evidence suggests Petitioner is

entitled to further consideration of his claims. Accordingly, the Court DENIES a certificate of

appealability.

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    V.      CONCLUSION

         For the foregoing reasons, the Court hereby DENIES the § 2255 Motion and DENIES a

certificate of appealability.

         Let the Clerk send a copy of this Memorandum Opinion to the pro se Petitioner and all

counsel of record.

         An appropriate Order shall issue.

                                               ______________________/s/_________________
                                               James R. Spencer
                                               Senior U. S. District Judge


ENTERED this _10th___ day of June 2015.




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